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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


   IN RE:                                         §     CASE NO.: 25-31158
                                                  §
   TEOFILA ADAME,                                       CHAPTER 13
                                                  §
          DEBTOR.
                                                  §
   _________________________________/

                       OBJECTION TO CONFIRMATION OF PLAN

       COMES NOW, MCLP Asset Company, Inc. (“Secured Creditor”) by and through its

undersigned attorneys, and for its Objection to Confirmation of Debtor’s Chapter 13 Plan, herein

states and alleges as follows:

       1.      This Court has exclusive jurisdiction over this proceeding. The Debtor filed this

Petition under Chapter 13 of the United States Bankruptcy Code on or about March 3, 2025.

       2.      Secured creditor is a secured creditor holding a secured claim against Debtor’s

property known as 9919 Clear Meadow Lane, Houston, TX 77089.

       3.      Secured Creditor will file its Proof of Claim on or before the claims bar date, with

the approximate arrears as $141,667.38.

       4.       Debtors’ Plan (Docket No. 14) does not provide for arrears when the approximate

arrearage claim is $141,667.38. The Secured Creditor objects to any plan which does not cure

Secured Creditor’s arrears.

       5.       Therefore, the plan fails 11 U.S.C. §1322 (b)(2)-(3), and pursuant to 11 U.S.C.

§1325 (a)(5) the plan cannot be confirmed.
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        WHEREFORE, MCLP Asset Company, Inc. prays that its Objection to Confirmation of

Plan be sustained, and for all further relief as is just and proper.


                                                        Respectfully submitted,

                                                        /s/Michael J. Burns
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on or before April 21, 2025, I caused a true and correct copy of the

foregoing to be served either by CM/ECF notice to those so authorized, and first-class mail as

indicated to the parties reflected on the attached.



                                                By: /s/ Michael J. Burns
                                                       Michael J. Burns, Esq.
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                                                       Padgett Law Group

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